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                UNITED STATES COURT OF INTERNATIONAL TRADE
                   BEFORE MARK A. BARNETT, CHIEF JUDGE
__________________________________________
                                          )
SEAH STEEL CORPORATION,                   )
                                          )
                   Plaintiff,             )
                                          )      Court No. 22-00338
              v.                          )
                                          )
UNITED STATES,                            )
                                          )
                   Defendant,             )
                                          )
              and                         )
                                          )
BORUSAN MANNESMANN PIPE                   )
U.S. INC., ET AL.,                        )
                                          )
                   Defendant-Intervenors. )
                                          )
__________________________________________)

     RESPONSE BRIEF OF DEFENDANT-INTERVENORS IN OPPOSITION TO
      PLAINTIFF’S MOTION FOR JUDGMENT ON THE AGENCY RECORD

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                                              Energy, Allied Industrial and Service
                                              Workers International Union, AFL-
                                              CIO, CLC, and Welded Tube USA,
                                              Inc.

                                              *Admitted only in Ohio. Practice
                                              limited to federal agencies and courts.
Dated: May 30, 2023
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                    UNITED STATES COURT OF INTERNATIONAL TRADE
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              v.                          )
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UNITED STATES,                            )
                                          )
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                                          )
              and                         )
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BORUSAN MANNESMANN PIPE                   )
U.S. INC., ET AL.,                        )
                                          )
                   Defendant-Intervenors. )
                                          )
__________________________________________)

      RESPONSE BRIEF OF DEFENDANT-INTERVENORS IN OPPOSITION TO
       PLAINTIFF’S MOTION FOR JUDGMENT ON THE AGENCY RECORD

       Pursuant to USCIT Rule 56.2 and the Court’s February 15, 2023 scheduling order,

Defendant-Intervenors Borusan Mannesmann Pipe U.S., Inc., PTC Liberty Tubulars LLC, the

United Steel, Paper and Forestry, Rubber, Manufacturing, Energy, Allied Industrial and Service

Workers International Union, AFL-CIO, CLC, and Welded Tube USA, Inc. (collectively,

“Defendant-Intervenors”) hereby submit the following response in opposition to the motion for

judgment on the agency record filed by Plaintiff SeAH Steel Corporation (“SeAH”) in the above-

captioned action.




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                                     RULE 56.2 STATEMENT

A.      Determination Under Review

       The administrative determination under review is the final determination of the Department

of Commerce (“Commerce”) in the countervailing duty investigation of oil country tubular

goods from the Republic of Korea, published as Oil Country Tubular Goods from the Republic of

Korea: Final Affirmative Countervailing Duty Determination, 87 Fed. Reg. 59,056 (Dep’t

Commerce Sept. 29, 2022) (Public Record (“P.R.”) 382)1 and accompanying Issues and Decision

Memorandum (“IDM”) (P.R. 377).

B. Issues Presented

       1. Whether certain information provided by SeAH at verification constitutes untimely new
          factual information?

          Defendant-Intervenors’ Position: Yes; the additional documents provided by SeAH at

          verification constituted untimely new factual information that should have been provided

          in response to Commerce’s initial questionnaire.

       2. Whether Commerce was correct in rejecting SeAH’s untimely new factual information
          from the administrative record of the investigation?

          Defendant-Intervenors’ Position: Yes; because the new factual information presented for

          the first time at verification was untimely pursuant to Commerce’s regulations, it should

          have been rejected from the record.

       3. Whether SeAH’s failure to include the information provided at verification in SeAH’s
          response to Commerce’s initial questionnaire warrants a finding that SeAH failed to act
          to the best of its ability in providing information and the application of adverse facts
          available?




1
    Citations to documents on the public administrative record are denoted as “P.R.” in this brief.
    This brief contains no confidential information subject to the governing protective order.

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       Defendant-Intervenors Position: Yes; because SeAH waited until verification to present

       information that should have been provided in response to Commerce’s initial

       questionnaire, SeAH failed to act to the best of its ability and the application of adverse

       facts available is warranted.

                                STATEMENT OF THE FACTS

       Defendant-Intervenors agree with the statement of the facts as presented in Defendant’s

response brief (DOJ Br. at 2-7). However, Defendant-Intervenors wish to supplement the facts as

identified in the Defendant’s brief to reflect an additional incident of SeAH’s failure to respond

to requests for information from Commerce. In particular, in the “General Questions” section of

the initial questionnaire issued to SeAH on November 24, 2021, Commerce requested that SeAH

“provide your company’s complete audited financial statements for the last three fiscal years.”

Initial Questionnaire at Section III at 4 (Nov. 24, 2021) (P.R. 129). Further, Commerce clarified

that these financial statements “should include the complete set of statements, e.g., income

statement, balance sheet, cash flow statement, statement of change in equity, all notes thereto,

and the auditor’s opinion.” Id. In response, SeAH provided a copy of its unconsolidated financial

statements for its 2018 fiscal year, which covered the period from its date of incorporation (i.e.,

September 1, 2018) through December 31, 2018, as well as unconsolidated financial statements

for the fiscal/calendar years 2019 and 2020, which were presented in a single combined report.

SeAH Initial Questionnaire Response at Appendices 3-A and 3-B (Jan. 10, 2022) (C.R. 139-141,

P.R. 169-171). These were the only financial statements provided.

       On the afternoon of the penultimate day of verification, as Commerce attempted to

confirm the reported non-use of programs, SeAH for the first time attempted to present

Commerce with additional, not previously provided financial statements, covering the fiscal

years ending as of December 31, 2018 and 2019. SeAH Verification Report at 9-10 (Sept. 1,
                                                 3
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2022) (C.R. 265, P.R. 345); see also SeAH Rejected Case Brief at Attachment 2, 3-4 (Sept. 8,

2022) (C.R. 273, P.R. 353). These financial statements were not previously provided by SeAH in

response to Commerce’s initial questionnaire. Notably, Note 34 to these financial statements

identifies “Payment guarantees” outstanding as of December 31, 2019, which include an

outstanding guarantee from the Korea Export-Import Bank (“KEXIM”). Id. at Attachment 2,

Exhibit 1 (“‘Non-Use’ Package Presented to Verifiers on Wednesday, August 24, 2022”) at 7.2

         Commerce declined to accept the materials presented by SeAH at verification to

ostensibly demonstrate non-use of the KEXIM Performance Guarantee program, explaining that

“the offered documentation … constituted new factual information.” SeAH Verification Report

at 10 (Sept. 1, 2022) (C.R. 265, P.R. 345). Evidently undeterred, SeAH’s initial case brief filed

in advance of Commerce’s final determination included the entire packet of information that

Commerce had declined to accept at verification. SeAH Rejected Case Brief at Attachment 2

(Sept. 8, 2022) (C.R. 273, P.R. 353). Commerce again rejected this information from the record,

explaining that Attachment 2 of SeAH’s rejected case brief consisted of “untimely new factual

information, the deadline for which was not later than February 7, 2022,” and which had “not

previously been placed on the record of this proceeding.” First Rejection Letter, (Sept. 9, 2022)

(P.R. 357). In response to objections from SeAH, Commerce again explained that SeAH’s

rejected case brief included “untimely new factual information that should have been included in




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    As discussed below, Commerce legally and appropriately rejected this material from the record
    of the administrative proceeding. Commerce did, however retain a copy pursuant to 19 C.F.R. §
    351.104(a)(2)(ii). Defendant-Intervenors refer to this information solely for the purpose of
    highlighting how SeAH failed to provide a complete and timely response to the initial
    questionnaire and withheld the requested financial statements until verification, impeding
    Commerce’s investigation.

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SeAH Steel’s initial response to section III of the questionnaire.” Second Rejection Letter (Sept.

13, 2022) (P.R. 363).

        In the Final Determination, Commerce concluded that SeAH failed to report its use of the

KEXIM Performance Guarantee program in response either to the questions directed towards the

program under that name or to Commerce’s request for information on “other subsidies” in the

initial questionnaire. IDM at 70-74 (P.R. 377). Moreover, Commerce highlighted that the 2019

financial statement SeAH attempted to present at verification was not part of the administrative

record. Id. at 75.

                                  STANDARD OF REVIEW

        The applicable standard of review is set forth in 19 U.S.C. § 1516a(b)(1)(B)(i). Pursuant

to the statute, the Court holds unlawful any determination found to be unsupported by substantial

evidence on the record, or otherwise not in accordance with law. Substantial evidence means

“more than a mere scintilla” and “such relevant evidence as a reasonable mind might accept as

adequate to support a conclusion.” Suramerica de Aleaciones Laminadas, C.A. v. United States,

44 F.3d 978, 985 (Fed. Cir. 1994) (quoting Consolidated Edison Co. v. NLRB, 305 U.S. 197, 229

(1938)). In evaluating Commerce’s determination, the Court must decide whether “the

administrative record contain{s} substantial evidence to support” Commerce’s decision and

whether that decision was “rational.” Matsushita Elec. Indus. Co. v. United States, 750 F.2d 927,

933 (Fed. Cir. 1984). Defendant-Intervenors further agree with the detailed discussion of the

standard of review and the legal framework set out in Defendant’s response brief. DOJ Br. at

8-9.




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                                           ARGUMENT

  I.   The Information Provided by SeAH at Verification Constitutes Untimely New
       Factual Information

       In the initial questionnaire, Commerce requested that SeAH “provide your company’s

complete audited financial statements for the last three fiscal years.” Initial Questionnaire at

Section III at 4 (Nov. 24, 2021) (P.R. 129). These financial statements, Commerce explained,

“should include the complete set of statements, e.g., income statement, balance sheet, cash flow

statement, statement of change in equity, all notes thereto, and the auditor’s opinion.” Id.

       SeAH was not fully responsive to Commerce’s request for the company’s complete

audited financial statements for the three fiscal years including and preceding the period of

investigation (“POI”). In its response to Commerce’s initial questionnaire, SeAH provided two

separate sets of unconsolidated financial statements. The first set covered the fiscal year ending

December 31, 2018. SeAH Initial Questionnaire Response at Appendix 3-A (Jan. 10, 2022)

(C.R. 139-141, P.R. 169-171). The second set were combined for the fiscal years ending

December 31, 2019 and 2020. Id. at Appendix 3-B. Thus, whereas Commerce requested

complete statements for “three” years, SeAH provided two sets of documents that contained

information about 2018, 2019, and 2020, but omitted to disclose the existence of a third

statement. See id. at 18. As a consequence, Commerce was led to believe SeAH had provided

what Commerce requested, when in fact the documents provided by SeAH in its initial

questionnaire response do not consist of the “complete audited financial statements for the last

three fiscal years,” nor do they contain the complete set of “notes thereto” as Commerce

requested. Unbeknownst to Commerce, there existed a third set of unconsolidated financial

statements, covering the fiscal years ending December 31, 2018 and December 31, 2019, with




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their own income statement, balance sheet, and notes. In contravention of Commerce’s request,

SeAH did not provide this third set in its response to the initial questionnaire.

          The existence of SeAH’s unconsolidated 2018-19 financial statements only became

evident at verification, when in the afternoon of the penultimate day, SeAH presented them as

part of a “non-use” package intended to demonstrate the irrelevance of SeAH’s performance

guarantees from KEXIM. From what is available in the administrative record presented to this

Court, it is evident that SeAH’s unconsolidated 2018-19 financial statements contain important

information not found elsewhere on the record that would have warranted further investigation

by Commerce had these financial statements been timely provided, as requested in Commerce’s

initial questionnaire.3 Most relevant here, SeAH’s unconsolidated 2018-19 financial statements

contain information pertinent to SeAH’s reported non-use of the KEXIM Performance Guarantee

program. At Note 34 to the unconsolidated 2018-19 financial statements, SeAH identifies

“{p}ayment guarantees provided by others as of December 31, 2019….” SeAH Rejected Case

Brief at Attachment 2, Exhibit 1 at 7 (Sept. 8, 2022) (C.R. 273, P.R. 353). Listed among the

guarantors is KEXIM, in connection with a subsidy program alleged in the petition, and initiated

upon by Commerce. Id.

          Critically, the information contained in Note 34 to SeAH’s unconsolidated 2018-19

financial statements is not present in any other documentation relied upon by Commerce in the

final determination, including the unconsolidated financial statements covering the years

2019-20. In its initial questionnaire response, SeAH provided a set of unconsolidated financial

statements covering the combined 2019 and 2020 fiscal years. SeAH Initial Questionnaire


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    Indeed, because this third set of financial statements was withheld until verification, the full
    extent to which they provide information not included in the other two sets of financial
    statements provided to Commerce is unclear.

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Response at Appendix 3-B (Jan. 10, 2022) (C.R. 139-141, P.R. 169-171). Although the

unconsolidated 2019-2020 statements purport to carry forward certain data related to the fiscal

year ending December 31, 2019, the unconsolidated 2018-19 financial statements that SeAH

withheld until verification demonstrate that the information provided in the two sets of financial

statements is not the same. In particular, the unconsolidated 2018-19 financial statements have a

specific note (i.e., Note 34) dedicated to the provision of payment guarantees provided to SeAH,

which identifies each guarantor and the amount of the guarantee outstanding at the end of the

2019 fiscal year—including specific reference to outstanding performance guarantees from

KEXIM. By contrast, the unconsolidated 2019-20 financial statements provided in SeAH’s initial

questionnaire response, at Note 35, “Commitments and contingencies,” only states with regard to

performance guarantees:

               The Company has received ₩17,712 million of guarantees for
               performance and warranty from Seoul Guarantee Insurance. Also,
               the Company is provided with payment guarantees for opening
               letter of credit in relation to import of raw materials with the limit
               of up to USD 137,500 thousand from KEB Hana Bank and others.
               Also, the Company provided with payment guarantees for
               performance of other contracts with the limit of up to USD 10,386
               thousand.

Id. Notably absent from this discussion are the dates for which these guarantees would be

outstanding. In addition, while this statement identifies two of SeAH’s guarantors for the years

2019 and 2020, the remaining guarantors, including KEXIM, remain unidentified in these

financial statements. Id.

       The facts in this case are incontrovertible. The unconsolidated 2018-19 financial

statements proffered by SeAH at verification are separate and distinct from the two sets of

unconsolidated financial statements, covering 2018 and 2019-20, respectively, that the company

provided to Commerce in response to the initial questionnaire. Moreover, the financial

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statements that were offered for the first time at verification contain factual information that

(1) is relevant to Commerce’s investigation of the KEXIM Performance Guarantee program and

(2) was not contained in the previously submitted financial statements. In fact, the 2018-19

financial statements provided at verification include the identities of each guarantor (including

KEXIM), and the balances outstanding as of December 31, 2019, which were not available in the

combined 2019-20 financial statements that were provided in SeAH’s response to the initial

questionnaire. SeAH’s standalone unconsolidated financial statements for 2018-19 fell squarely

within the scope of Commerce’s initial questionnaire, which instructed SeAH to “provide your

company’s complete audited financial statements for the last three fiscal years” and “all notes

thereto.” Initial Questionnaire at Section III at 4 (Nov. 24, 2021) (P.R. 129).

       As Commerce explained in the Final Determination, the materials offered to demonstrate

non-use at verification were requested in the initial questionnaire, and were therefore due to be

provided to Commerce no later than January 10, 2022, pursuant to 19 C.F.R. § 351.301(c)(1).

IDM at 74 (P.R. 377). Given their untimeliness, Commerce correctly dismissed SeAH’s

arguments that relied on these documents, noting in particular that “the 2019 financial statement

SeAH Steel claims were in the packet of rejected materials and is not present on the record of

this proceeding,” and that SeAH’s arguments were therefore “not supported by record evidence.”

IDM at 75 (P.R. 377).

 II.   Commerce Lawfully Excluded Untimely New Factual Information From the Record
       of the Investigation, Leaving Gaps in the Administrative Record

       Pursuant to 19 C.F.R. § 351.301(c)(1), Commerce “will not consider or retain in the

official record of the proceeding unsolicited questionnaire responses… or untimely filed

questionnaire responses.” While SeAH argues that its presentation of the non-use package at

verification, including the unconsolidated 2018-19 financial statements, was part of an effort to

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“corroborate, support, and clarify factual information already on the record,” SeAH

mischaracterizes both its actions and the materials presented. SeAH Br. at 24 (quoting SeAH

Verification Agenda (Aug. 9, 2022) (P.R. 332)). As discussed, supra, the information included in

the package presented at verification constitutes untimely new factual information, and does not

“corroborate, support, and clarify factual information already on the record.” Id.

       The Court has long distinguished between attempts to submit “corrective information” of

the sort meant to corroborate, support, or clarify existing factual information, and untimely new

factual information. For instance, in Guizhou Tyre Co., Ltd. v. United States, the Court affirmed

Commerce’s determination to reject a respondent’s reporting of previously undisclosed loans as

new factual information when they were reported just two weeks prior to verification, explaining

that “the burden of creating an adequate record lies with interested parties and not with

Commerce,” and that the respondent failed to provide responsive information to the initial

questionnaire within the established timeline. Guizhou Tyre Co., Ltd. v. United States, 523 F.

Supp. 3d 1312, 1345 (CIT 2021) (citing Nan Ya Plastics Corp. v. United States, 810 F.3d 1333,

1337 (Fed. Cir. 2016)). The Court elaborated that it “has held that Commerce abuses its

discretion by rejecting ‘corrective information,’ which includes submissions ‘to correct{}

information already provided {to Commerce}’ … or to ‘clarif{y} information already in the

record’ … but not to ‘fill {} gap{s} cause by {a respondent’s} failure to provide a questionnaire

response… .’” Id. (citing Goodluck India Limited v. United States, 393 F. Supp. 3d 1352, 1357-

1358 (CIT 2019) (emphasis supplied) (citing Fischer S.A. Comercio v. United States, 700 F.

Supp. 2d 1364, 1373-1377 (CIT 2010))). As in the investigation underlying Guizhou Tyre,

SeAH’s untimely provision of the 2018-19 financial statements at verification “did not

‘corroborate, support and clarify factual information on the record;’ rather, it was an attempt to



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fill gaps in the record caused by {the respondent’s} own failure to respond fully to Commerce’s

questionnaires.” Id. at 1348.

       The Court has explained that the “{t}he purpose of verification is to ‘verify the accuracy

and completeness of submitted factual information’” and that it “is not a forum for respondents

to provide or for Commerce to accept or collect new factual information.” Id. at 1350. Thus,

where a respondent’s unwillingness to timely provide requested information precludes

Commerce from fully investigating and verifying that information, a refusal to accept that

information is consistent with Commerce’s statutory obligation to “verify all information relied

upon in making … a final determination.” Id. at 1349-50 (quoting 19 U.S.C. § 1677m(i)).

       Given that the unconsolidated 2018-19 financial statements were provided by SeAH only

on the penultimate day of verification, despite a clear request in Commerce’s initial

questionnaire for SeAH’s complete financial statements for the three most recent years, the Court

“cannot now consider evidence that Commerce itself never considered.” Canadian Solar

International Limited v. United States, CAFC Case No. 2020-2162, 2023 WL 3557852 (Fed. Cir.

May 19, 2023) (quoting favorably Canadian Solar Int'l Ltd. et al. v. United States, 399 F. Supp.

3d 1379 (CIT 2019)). Commerce therefore acted lawfully in rejecting SeAH’s untimely financial

statements from the record and not relying on them for the purposes of the final determination.

Consequently, in addition to the other reporting failures discussed in Defendant’s Response

Brief, the absence of the 2018-19 financial statements from the record created a gap within the

meaning of subsection (1) of 19 U.S.C. § 1677e(a). See IDM at 75 (noting that the 2018-19

financial statements on which SeAH attempts to rely are “not present on the record”). Indeed,

the absence of the 2018-19 financial statements and associated notes related to the KEXIM

performance guarantee program is part of SeAH’s broader failure to report is usage of that



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program, and thus furthermore constitutes a gap in the record within the meaning of subsections

(2)(A), (2)(C), and (2)(D) of 19 U.S.C. § 1677e(a). See IDM at 71-73 (noting that SeAH had

“failed to report” its usage of the KEXIM performance guarantee program in response to the

initial questionnaire ((a)(2)(A)), and that this shortcoming “significantly impeded” Commerce’s

investigation ((a)(2)(C)) and “precluded” Commerce from verifying necessary information

related to the program ((a)(2)(D))).

III.   Commerce Lawfully Applied Adverse Facts Available to Fill Gaps Caused by
       SeAH’s Failure to Provide Information Requested by Commerce

       Defendant-Intervenors agree with the legal framework set forth in the Government’s brief

regarding the application of adverse facts available. DOJ Br. at 14.

       Defendant-Intervenors further emphasize that, just as SeAH’s failure to report its usage

of the KEXIM performance guarantee program constituted a failure to cooperate to the best of its

ability, see DOJ Br. at 20-23, so too did SeAH’s exclusion of its unconsolidated 2018-19

financial statements from its response to Commerce’s initial questionnaire represent a further

failure to fully cooperate with Commerce’s requests for information. SeAH’s omission of these

financial statements from its questionnaire response precluded Commerce (and Defendant-

Intervenors) from considering them over the entire course of the investigation, despite the

withheld financial statements containing detailed financial information and notes for 2019 as

well as specific information pertinent to Commerce’s analysis of the KEXIM Performance

Guarantee program, and/or any “Other Subsidies” SeAH received. Initial Questionnaire at

Section III at 4, 18 (Nov. 24, 2021) (P.R. 129).

       “The mere production of a substantial volume of documents does not, ipso facto,

demonstrate that a respondent acted to the best of its ability. The inquiry is ‘whether a

respondent has put forth its maximum effort to provide Commerce with full and complete

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answers to all inquiries in an investigation.’” Hyundai Heavy Indus., Co. v. United States, 399 F.

Supp. 3d 1305, 1312 (CIT 2019), (citing Nippon Steel Corp. v. United States, 337 F.3d 1373,

1382 (Fed. Cir. 2003)). While voluminous, the financial statements provided by SeAH in its

initial questionnaire response were an incomplete response to Commerce’s request for

information.

       SeAH’s failure to provide the unconsolidated 2018-19 financial statements significantly

impeded Commerce’s investigation, because they contain several threads that Commerce could

have begun pulling as early as January 2022, most obviously the fact that KEXIM was identified

as a guarantor of SeAH as of December 31, 2019. If Commerce had this information at the outset

of the investigation, Commerce could have asked SeAH whether this performance guarantee

from KEXIM was in effect during the POI and whether SeAH utilized the guarantee during the

POI. SeAH’s failure to provide this information—as no mention of a KEXIM performance

guarantee is made in the two sets of financial statements it did provide—precluded Commerce

(and Defendant-Intervenors) from meaningfully interrogating SeAH’s bare assertion that it “did

not have any performance guarantees from KEXIM for loans that were outstanding during the

investigation period,” which was the entirety of SeAH’s response to Commerce’s question

regarding the KEXIM Performance Guarantee program. SeAH Initial Response at 27 (Jan. 10,

2022) (C.R. 135-138 P.R. 167-168). Given that SeAH’s questionnaire response included sets of

financial statements containing information for 2018, 2019, and 2020, Commerce had a

reasonable basis to expect that SeAH had provided what Commerce had requested, or that SeAH

would have informed Commerce of the existence of a third set of financial statements and

SeAH’s basis for withholding that third set, so that Commerce could investigate SeAH’s

position. See POSCO v. United States, 296 F. Supp. 3d 1320, 1338 (CIT 2018).



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       SeAH has continued to argue that it was responsive to Commerce’s request and that the

untimely financial statements provided as a part of its non-use package presented at verification

were “requested by Commerce’s verification agenda.” SeAH Br. at 27. However, this is not so,

as the company chose not to provide all the relevant information regarding the KEXIM

Performance Guarantee program because it had apparently determined, on its own, that the

program provided no benefit attributable to the period of investigation and because the benefit

was related to a sale of non-subject merchandise to a third country. SeAH Verification Report at

10 (Sept. 1, 2022) (C.R. 265, P.R. 345). To the extent that there was any confusion concerning

the type of program being investigated, or to which products or destination countries the program

applied, it was incumbent on SeAH to request additional clarification from Commerce rather

than unilaterally determining to withhold the information of which it alone was aware.

Changzhou Trina Solar Energy Co. v. United States, 195 F. Supp. 3d 1334, 1346 (CIT 2016)

(“{A}ny confusion concerning the tax deduction for disabled employees… should have been

addressed by seeking guidance from Commerce, rather than categorically withholding the

information.”). Where “there is no indication that {a respondent} attempted in good faith to

comply with Commerce’s request for information” regarding the full scope of a program’s use,

the application of adverse facts available is warranted so long as the “record reasonably supports

Commerce’s determination that the {respondent} failed to cooperate by not acting to the best of

its ability to comply with the request for information…” Id.

       The fact that the financial statements withheld by SeAH were only unearthed at

verification further warrants a finding that SeAH significantly impeded the proceeding pursuant

to 19 U.S.C. § 1677e(a). POSCO v. United States, 296 F. Supp. 3d 1320, 1337–38 (CIT 2018)

(“POSCO’s inaccurate questionnaire responses and untimely submission of new factual



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information at verification prevented Commerce from fully examining the extent to which

POSCO’s affiliates benefitted from subsidies attributable to POSCO. {citation omitted}. There

is, thus, substantial evidence on the record demonstrating that POSCO withheld information,

failed to timely provide information, and impeded the proceeding pursuant to 19 U.S.C.

§ 1677e(a).”). In a scenario where a respondent has responsive information available to it, but

elects not to provide it, the Federal Circuit has found that the application of adverse facts

available is warranted because “{s}uch behavior cannot be considered ‘maximum effort to

provide Commerce with full and complete answers.’” Maverick Tube Corp. v. United States, 857

F.3d 1353, 1360 (Fed. Cir. 2017) (quoting Nippon Steel v. United States, 337 F.3d 1373, 1382

(Fed. Cir. 2003)).

       Given SeAH’s unwillingness to put forth its best efforts to provide the financial

statements requested of it in response to Commerce’s initial questionnaire, the application of

adverse facts available is warranted in finding that SeAH benefited from the KEXIM

Performance Guarantee program during the POI.




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                                        CONCLUSION

       For the reasons in this and Defendant’s response brief, this Court should reject Plaintiff’s

challenge and uphold Commerce’s final determination as supported by substantial evidence and

in accordance with law. Defendant-Intervenors therefore respectfully request that Plaintiff’s

motion for judgment on the agency record be denied.



                                                        Respectfully submitted,



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                                                          Inc.

                                                          *Admitted only in Ohio. Practice
                                                          limited to federal agencies and courts.




Dated: May 30, 2023




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                             CERTIFICATE OF COMPLIANCE

       I hereby certify that the foregoing response brief complies with the word-count limitation
in this Court’s Order of February 15, 2023, limiting this brief to 6,500 words. This response brief
contains 4,189 words according to the word count function of the word processing software used
to prepare the brief.



Dated: May 30, 2023                                  /s/ Christopher T. Cloutier
                                                     Christopher T. Cloutier
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                    UNITED STATES COURT OF INTERNATIONAL TRADE
                       BEFORE MARK A. BARNETT, CHIEF JUDGE
__________________________________________
                                          )
SEAH STEEL CORPORATION,                   )
                                          )
                   Plaintiff,             )
                                          )                   Court No. 22-00338
              v.                          )
                                          )
UNITED STATES,                            )
                                          )
                   Defendant,             )
                                          )
              and                         )
                                          )
BORUSAN MANNESMANN PIPE                   )
U.S. INC., ET AL.,                        )
                                          )
                   Defendant-Intervenors. )
                                          )
__________________________________________)

                                      PROPOSED ORDER
        Upon consideration of the motion for judgment on the administrative record filed by

plaintiff, the responses thereto filed by the defendant and the defendant-intervenors, plaintiff’s

reply, the administrative record, and all other papers and proceedings herein, it is hereby:

        ORDERED that the motion is DENIED; and it is further

        ORDERED that the U.S. Department of Commerce’s final determination is sustained;

and it is further

        ORDERED that judgment is entered in favor of the defendant.


        It is SO ORDERED.
                                              ______________________________________
                                               HON. MARK A. BARNETT, CHIEF JUDGE

Dated: _________________, 2023
       New York, New York
